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3                                UNITED STATES DISTRICT COURT

4                                        DISTRICT OF NEVADA

5                                                    ***

6     JASON M. WARD,                                       Case No. 3:20-cv-00346-MMD-WGC

7                                       Plaintiff,                        ORDER
             v.
8
      I. BACA, et al.,
9
                                   Defendants.
10

11          On June 12, 2020, Plaintiff Jason M. Ward, then an inmate in the custody of the
12   Nevada Department of Corrections (“NDOC”), initiated this prisoner civil rights action
13   pursuant to 42 U.S.C. § 1983. (ECF No. 1-1.) On January 11, 2021, the Court confirmed
14   from the NDOC inmate database that Plaintiff Jason M. Ward (#23686) died on January
15   5, 2021.
16          Pursuant to Federal Rule of Civil Procedure 25(a)(1), “[i]f a party dies and the claim
17   is not extinguished, the court may order substitution of the proper party. A motion for
18   substitution may be made by any party or by the decedent’s successor or representative.
19   If the motion is not made within 90 days after service of a statement noting the death, the
20   action by or against the decedent must be dismissed.” Fed. R. Civ. P. 25(a)(1). As such,
21   if there is not motion for substitution filed within ninety (90) days from the date of this Order,
22   the Court will dismiss the case.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
     Case 3:20-cv-00346-MMD-WGC Document 7 Filed 01/11/21 Page 2 of 2


1           It is therefore ordered that the Court will dismiss this case in ninety (90) days from

2    the date of this Order if there is no motion for substitution filed pursuant to Federal Rule

3    of Civil Procedure 25(a)(1).

4           DATED THIS 11th Day of January 2021.

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7                                              MIRANDA M. DU
                                               CHIEF UNITED STATES DISTRICT JUDGE
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